                     Case 1:11-cv-07481-JMF Document 2 Filed 10/28/11 Page 1 of 1                 )-'fliVV/J
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         UNITED STATES DISTRICT COURT
         SOUTHERN DISTRICT OF NEW YORK                         DOC#: ____-=~--~
                                                             \\DATE FILED: (00)3 .111 1
         STAN LA CORTE, Individually and on
         behalf of all others similarly situated,
                                                             Case No. 11 CIV 7481 (LBS) (THK)
                                  Plaintiff,
                                                             ORDER TO SHOW CAUSE FOR
                v.                                           PERMISSION FOR ALTERNATE
                                                             SERVICE OF PROCESS
         TELEFONOS DE MEXICO, S.A.B DE C.V.,

                                  Defendants.


                Upon the Declaration of Brian C. Kerr, dated October 27, 2011, and upon the

         accompanying Memorandum of Law, it is

                ORDERED, that the above-named Defendant show cause before a motion term of this

    </   Court, at Room \ 51\ , United States Courthouse, 500 Pearl Street, in the City, County and State

         of New York, on October 31,2011, at 10:30 a.m., or as soon thereafter as counsel may be heard,

         why an Order should not be issued pursuant to Rule 4(f)(3) of the Federal Rules of Civil

         Procedure permitting service of both the Summons and Complaint and anticipated motion for a

         temporary restraining order upon the Defendant's New York counsel Cleary Gottlieb Steen &

         Hamilton LLP in a manner proscribed by the Court; and it is further

                ORDERED that personal service of a copy of this order and annexed affidavit upon the

j        Defendant's counsel on or before                        o'clock in the a.m'60ctobif,

             i}~       ,Q.:O\ ,       shall be deemed good and sufficient service thereof.




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                                                 Ullted States Dis .ct Court Judge
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